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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA

MOREHOUSE ENTERPRISES, LLC                )
d/b/a BRIDGE CITY ORDNANCE, GUN           )
OWNERS OF AMERICA, INC.,                  )
and GUN OWNERS FOUNDATION,                )
                                          )                    Case No. _______________
Plaintiffs,                               )
                                          )
        v.                                )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES; UNITED           )
STATES DEPARTMENT OF JUSTICE; and         )
STEVEN M. DETTELBACH AS THE               )
DIRECTOR OF ATF,                          )
                                          )
Defendants.                               )
__________________________________________)



                          DECLARATION OF ERICH PRATT



    1. My name is Erich M. Pratt. I am a U.S. citizen and resident of Virginia. I make

 this declaration in support of Plaintiffs’ Complaint for Declaratory and Injunctive Relief.

 Unless otherwise stated, I make this declaration based on personal knowledge. If called

 as a witness, I can testify to the truth of the statements contained herein.

    2. I am the Senior Vice President of Gun Owners of America, Inc. (“GOA”), and the

 Senior Vice President of Gun Owners Foundation (“GOF”).

    3. In that capacity, I oversee staff that is in daily contact with members and

 supporters regarding their concerns, questions, requests, and suggestions on how GOA

 and GOF can best represent their interests.

                                               1
                                                   Exhibit 2
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   4. Gun Owners of America, Inc. is a California non-stock corporation with its

principal place of business in Springfield, Virginia. GOA is organized and operated as a

non-profit membership organization that is exempt from federal income taxes under

Section 501(c)(4) of the U.S. Internal Revenue Code. GOA was formed in 1976 to

preserve and defend the Second Amendment rights of gun owners. GOA has more than

2 million members and supporters across the country, including residents of this district,

many of whom are and will be irreparably harmed by the Department of Justice’s (“DOJ”)

“zero tolerance” policy, which is being wielded as a political weapon by the Bureau of

Alcohol, Tobacco, Firearms and Explosives (“ATF”) to revoke the federal firearms

licenses (“FFL”) of gun dealers across the nation, and thereby restrict law-abiding

Americans’ access to constitutionally protected arms.

   5. Gun Owners Foundation is a Virginia non-stock corporation, with its principal

place of business in Springfield, Virginia. GOF is organized and operated as a non-profit

legal defense and educational foundation that is exempt from federal income taxes under

Section 501(c)(3) of the U.S. Internal Revenue Code. GOF is supported by gun owners

across the country, including residents of this district, many of whom are and will be

irreparably harmed by ATF’s actions.

   6. Since ATF’s “zero tolerance” policy was announced in 2021, an overwhelming

concern of our members and supporters has been that this policy would be used

vindictively to cause gun stores across the country to close down for mere paperwork

violations which, prior to this new policy, would have resulted in far less serious

penalties. Traditionally, as Congress made clear in the Firearms Owners Protection Act,

revocation of a dealer’s license was reserved for the most serious of violations, rather

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than simply making an inadvertent human error such as transposing numbers on a form.

   7. Our members desire and overwhelmingly support GOA and GOF’s involvement

in litigation to protect their right to acquire firearms easily and unimpeded by government,

rights that are being unconstitutionally infringed by ATF’s “zero tolerance” policy.

   8. GOA and GOF together have more than two million members and supporters

nationwide, including residents of the district of North Dakota. Among these more than

2 million members and supporters, GOA and GOF represent countless FFLs (both entities

and individuals), along with numerous GOA Industry Partners within the firearms

industry and community.

   9. GOA also maintains the Caliber Club, a “partnership program” comprised of more

than five thousand gun stores and shooting ranges across the country.

   10. In other words, GOA and GOF represent the interests of many thousands of FFL

holders across the country who are affected by Defendants’ “zero tolerance” enactments.

   11. Some of GOA and GOF’s members and supporters similarly have been and are

being subjected to and harmed by the ATF’s “zero tolerance” policy implemented by

ATF against Bridge City Ordnance in this district.

   12. Since the “zero tolerance” policy was implemented, GOA and GOF have heard

from members and supporters who have been directly impacted, either because they

operated an FFL and have had the “zero tolerance” policy applied against them, or the

FFL that they previously used to acquire firearms saw its FFL revoked and can no longer

manufacture or transfer firearms. Further, based on the ATF’s application of the Gun

Control Act’s licensing provisions, once the ATF revokes a federal firearms license, that

event creates a permanent disqualification for that entity, its owners, and its responsible

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    parties to ever become a federally licensed dealer or manufacturer in the future.

        13. It is important to note that FFLs are not a homogenous commodity. Many of the

    nation’s licenses are home-based dealers who do not maintain a storefront or regular

    business hours. Many do not maintain significant inventory. In other words, not all FFLs

    are traditional “gun stores.”

        14. For instance, in Valley City, North Dakota, where Morehouse Enterprises/Bridge

    City Ordnance maintains its storefront, the ATF lists just six other FFLs.1




        15. However, this list does not tell the whole story, because one of these FFLs is a

    shoe store that just happens to sell some firearms. Another FFL is an auto supply shop,

    that just happens to have an FFL.

        16. Also, a review of ATF’s national licensing list, as of June 30, 2023,2 shows that,

    while six Valley City licensees (including Bridge City Ordnance) hold Type 1 dealers

    licenses, Bridge City Ordnance is the only licensee that has a Type 7 manufacturing

    license.

        17. One GOA member in the Valley City area of North Dakota has advised us that,

    were Bridge City Ordnance to lose its FFL, the member would lose their local gun store,

    which is the only “real” gun store in Valley City. This member advises that the other gun

    stores in the vicinity are very small, usually only maintain part time hours, or have a


1
    https://www.atf.gov/firearms/docs/undefined/0523-ffl-list-north-dakotaxlsx/download.
2
    https://www.atf.gov/firearms/docs/undefined/0623-ffl-list-completexlsx/download.

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    primary business other than firearms. This member advises that, if Bridge City Ordnance

    closes its doors, access to firearms would greatly diminish in the Valley City area.

       18. This member advised that if Bridge City Ordnance’s license were revoked and the

    store forced to shut down, the member would have to expend significant additional

    resources in the form of time and travel to traverse a much further distance in order to

    acquire constitutionally protected arms.

       19. In other words, GOA and GOF’s members and supporters are representative of

    those affected by ATF’s new “zero tolerance” policy, which has a ubiquitous and negative

    effect on the firearms community.

       20. Protection of these rights and interests advanced in this litigation is germane to

    GOA and GOF’s respective missions, which includes the effort to preserve and protect

    the Second Amendment and the rights of Americans to keep and bear arms, including

    against overreach by unelected and unaccountable anti-gun bureaucrats. GOA and GOF

    routinely litigate cases throughout the country on behalf of their members and supporters,

    and GOA and GOF are capable of fully and faithfully representing the interests of their

    members and supporters without participation by each of the individuals and entities.

       21. The magnitude and scope of the harms alleged above to GOA and GOF’s

    members and supporters, while already real, concrete, and irreparable, are still yet to be

    fully realized, which will occur as ATF’s “zero tolerance” policy is fully implemented.

    For instance, while every FFL is subject to inspection by ATF, ATF does not inspect all

    FFLs every year.3 Thus, because the ATF is in the early stages of implementing the new


3
  See https://www.atf.gov/resource-center/docs/factsheet-ffl-complaincepdf-0/download (“With certain
exceptions, the GCA allows ATF to conduct one warrantless, annual compliance inspection of a federal

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 “zero tolerance” policy, as ATF eventually inspects other FFLs, the “zero tolerance”

 policy will ultimately be implemented against all FFLs.

      22. If the “zero tolerance” policy is not enjoined now, our members’ and supporters’

 Second Amendment rights will be significantly curtailed.

          I declare under penalty of perjury that the foregoing is true and correct.

 Dated: July 10, 2023




                                               ________________________________
                                               Erich M. Pratt




firearms licensee (FFL).”).

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